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     ""AO 245B (CASD) (Rev 4/14)   Judgment in a Criminal Case
               Sheet I




                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or After November l, 1987)

                  ROBERTO ELIZALDE-DU POND (I)                                       Case Number: 14CR3015-W

                                                                                     Aron Lee Israelite, Federal Defenders Inc.
                                                                                     Defendant's Attorney
     REGISTRA TION NO. 42525298

    D
    THE DEFENDANT:
    ~ pleaded guilty to count(s) ONE OF THE INFORMATION

     D     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                         Nature ofOfTense                                                                              Number(s)
8 USC 1324(a)(l )(A)(ii) and         Transportation of Illegal Aliens and Aiding and Abetting                                                    1
 (v)(IJ)




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
                                                            -----------------------------------
  D Count(s)_________________________ is DareD dismissed on the motion of the United States.

  I8l Assessment: $100.00-WAIVED

  I8l Fine waived                                  D    Forfeiture pursuant to order filed
                                                                                                   -----------                 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                              DECEMBER 15,2014
                                                                             Date oflmposition of Sentence




                                                                             HON. THOMAS J1
                                                                              UNITED STATES D

                                                                                                                                                 14CR3015-W
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AO 245B (CASD) (Rev. 4/14)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                             Judgment   Page _ _2 _ of        2
 DEFENDANT: ROBERTO ELIZALDE-DU POND (1)
 CASE NUMBER: 14CR3015-W
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         FOUR (4) MONTHS



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the tollowing recommendations to the Bureau of Prisons:
         That the detendant serve his custodial sentence in a western region facility




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.    Op·m.      on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ------------------------------------.-------------------------------------­
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                               RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                   to

 at _______________ , with a certified copy ofthis judgment.


                                                                                           UNITED STATES MARSHAL

                                                                     By ____________- -____- - - - - - - - ­
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                         14CR3015-W
